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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6                                                  ***
 7    UNITED STATES OF AMERICA,                              Case No. 2:16-cr-00046-GMN-PAL
 8                                          Plaintiff,
             v.
 9                                                                         ORDER
      TODD C. ENGEL,
10
                                          Defendant.
11

12          This matter is before the court on a review of the docket which indicates multiple instances
13   of legal mail addressed to Defendant Todd C. Engel being returned to the Clerk of the Court as
14   undeliverable. See Mail Returned Undeliverable (ECF Nos. 1575, 1584, 1588, 1595, 1627, 1628,
15   1634, 1635, 1636, 1650). Attempts have been made to serve Engel at the Nevada Southern
16   Detention Center (“NSDC”) in Pahrump. At calendar call on January 20, 2017, the district judge
17   inquired whether the defendants in the first trial group would like to be housed locally for the
18   duration of their trial beginning on February 6, 2017, including weekends, to facilitate easier
19   communication with their attorneys. No objections were made and she therefore ordered that they
20   be housed locally. See Mins. of Proceedings (ECF No. 1376); Order (ECF No. 1391). As a result,
21   Mr. Engel is no longer at NSDC, and is currently detained in the Henderson Detention facility.
22          Mr. Engel is representing himself, but also has standby counsel. His standby counsel has
23   been electronically served. However, the court will direct that Mr. Engel also be served at the
24   address where he is detained during trial. Additionally, Mr. Engel is advised that the Local Rules
25   require that an attorney or pro se party immediately file with the court written notification of any
26   change of mailing address or other contact information. See LR IA 3-1.
27   ///
28   ///
                                                         1
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 1       IT IS ORDERED:

 2       1. The Clerk of the Court shall CHANGE Defendant Todd C. Engel’s mailing address to:

 3          Henderson Detention Center
            P.O. Box 95050
 4          Henderson, NV 89009-5050.
 5       2. The Clerk of the Court shall RESEND the Mail Returned Undeliverable (ECF

 6          Nos. 1575, 1584, 1588, 1595, 1627, 1628, 1634, 1635, 1636, 1650) to the updated

 7          address.

 8       3. Pursuant to LR IA 3-1, Mr. Engel or his standby counsel, John George, Esq., shall

 9          immediately file written notification of any subsequent change of address.   The

10          notification must include proof of service on each opposing party or the party’s

11          attorney.

12       Dated this 2nd day of March, 2017.
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14                                                 PEGGY A. LEEN
                                                   UNITED STATES MAGISTRATE JUDGE
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